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    1   John Hanusz (SBN 277367)
        HANUSZ LAW, PC
    2   515 South Flower Street, Suite 3500
        Los Angeles, California 90071
    3   Telephone: (213) 204-4200
        Email: john@hanuszlaw.com
    4
        Michael G. Freedman (State Bar No. 281279)
    5   THE FREEDMAN FIRM PC
        1801 Century Park East, Suite 450
    6   Los Angeles, California 90067
        Telephone: (310) 285-2210
    7   Facsimile: (310) 425-8845
        Email: michael@thefreedmanfirm.com
    8
    9   Attorneys for Raymond Chan
   10
                            UNITED STATES DISTRICT COURT
   11
                           CENTRAL DISTRICT OF CALIFORNIA
   12
   13    UNITED STATES OF AMERICA,                  Case No. 20-CR-00326-JFW
   14                       Plaintiff,
                                                    JOINT MOTION IN LIMINE NO.
   15                 v.                            1: DEFENDANT’S MOTION TO
                                                    EXCLUDE EVIDENCE
   16    RAYMOND SHE WAH CHAN,                      CONCERNING THE DETAILS
                                                    OF LAS VEGAS TRIPS
   17                       Defendant.
                                                    Hearing Date: February 16, 2024
   18                                               Hearing Time: 8:00 a.m.
                                                    Location: Courtroom of the
   19                                               Honorable John F. Walter
   20
   21
   22         Defendant Raymond Chan, by and through his counsel of record, John
   23   Hanusz and Michael G. Freedman, and Plaintiff United States of America, by
   24   and through its counsel of record, Assistant United States Attorneys Mack E.
   25   Jenkins, Cassie D. Palmer, Susan S. Har, and Brian R. Faerstein, hereby submit
   26   this Joint Motion in Limine No. 1: Defendant’s motion to preclude evidence
   27   about the details of the Las Vegas trips, which Raymond Chan did not attend.
   28
                 CHAN’S MIL NO. 1 TO EXCLUDE DETAILS OF LAS VEGAS TRIPS
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    1   This Joint Motion in Limine is based upon the attached memorandum of points
    2   and authorities, the files and records in this case, and such further evidence and
    3   argument as the Court may permit.
    4
        Dated: February 9, 2024           Respectfully submitted,
    5
    6                                     /s/ John Hanusz
    7                                     JOHN HANUSZ

    8                                     /s/ Michael G. Freedman
    9                                     MICHAEL G. FREEDMAN

   10                                     Attorneys for Raymond Chan
   11
   12                                         E. MARTIN ESTRADA
                                              United States Attorney
   13
   14
                                              /s/ Susan S. Har*
   15                                         SUSAN S. HAR
   16                                         MACK E. JENKINS
                                              CASSIE D. PALMER
   17                                         BRIAN R. FAERSTEIN
                                              Assistant United States Attorneys
   18
   19                                         Attorneys for Plaintiff
                                              UNITED STATES OF AMERICA
   20
   21
        *Pursuant to L.R.5-4.3.4, I attest that that all other signatories listed,
   22
        and on whose behalf the filing is submitted, concur in the filing’s content and
   23
        have authorized the filing.
   24
                                          /s/ Michael G. Freedman
   25                                     MICHAEL G. FREEDMAN
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    1                  STATEMENT OF ISSUES TO BE DECIDED
    2
             Defense Position: In Raymond Chan’s previous trial, the government
    3        elicited lengthy testimony and introduced numerous exhibits about the
    4        details of what occurred when Jose Huizar, George Esparza, and others
             accompanied Chairman Wei Huang to Las Vegas. These trips – and their
    5        salacious details – are irrelevant and unnecessarily prejudicial to the case
    6        against Chan (who did not attend), and should be excluded as a result.
             They do not further any fact of consequence and will only serve to inflame
    7        the jury’s sensibilities. Moreover, given the length of the testimony in this
             already-lengthy trial, allowing the witnesses to expand on the debauched
    8        nature of these trips would only waste the jury’s time.
    9
   10        Government Position: Because defendant is charged with aiding and
             abetting the SZNW bribery scheme, the government must fully prove up
   11        the bribery scheme as to Jose Huizar and Shen Zhen New World. The
   12        Vegas trips (and everything they entailed) were an integral part of that
             scheme and the government further expects to present evidence that
   13        defendant played a crucial role in aiding and abetting that scheme,
             including by facilitating and encouraging the Vegas trips. Evidence of
   14        Vegas is therefore highly probative of defendant’s guilt and properly
   15        admissible.
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    1                                   DEFENSE MOTION
    2      I.       INTRODUCTION
    3            In Raymond Chan’s previous trial, witnesses for the government testified
    4   at length about what occurred during Jose Huizar’s trips to Las Vegas with
    5   Chairman Wei Huang, and the government introduced numerous exhibits about
    6   these trips. This included information related to the size and luxury of
    7   accommodations and spending on restaurants and prostitutes. This evidence is
    8   wholly irrelevant as to Chan, is inflammatory and prejudicial, and should be
    9   excluded from this trial. In particular, the salacious details of what occurred
   10   during these trips are especially prejudicial and should be excluded. Chan did not
   11   partake in these trips and there is no indication that he knew what occurred
   12   during the trips. Details about the trips can only have been elicited at such length
   13   during the first trial for the purpose of inflaming the jury about the excessive and
   14   debauched nature of these trips, to paint a vision of corruption worthy of
   15   Hollywood, but that is irrelevant to the charges against Chan.
   16      II.      ARGUMENT
   17            “Only evidence that is relevant is admissible.” United States v. Dean, 980
   18   F.2d 1286, 1288 (9th Cir. 1992) (internal quotation marks omitted). “For
   19   evidence to be relevant it must be probative of the proposition it is offered to
   20   prove, and the proposition to be proved must be one that is of consequence to the
   21   determination of the action.” Id. (internal quotation marks and ellipsis omitted).
   22   Irrelevant evidence is thus inadmissible. Fed. R. Evid. 402. Moreover, even if
   23   relevant, the Court has wide discretion to exclude evidence “if its probative value
   24   is substantially outweighed by a danger of one or more of the following: unfair
   25   prejudice, confusing the issues, misleading the jury, undue delay, wasting time,
   26   or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. Unfair
   27   prejudice “refers to an undue tendency to suggest decision on an improper basis,
   28                                              2
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    1   commonly, though not necessarily, an emotional one or evidence designed to
    2   elicit a response from the jurors that is not justified by the evidence.” United
    3   States v. Ellis, 147 F.3d 1131, 1135 (9th Cir. 1998) (internal quotations omitted);
    4   accord Old Chief v. United States, 519 U.S. 172, 180 (1997). A defendant should
    5   not sustain a conviction “for reasons wholly irrelevant to his own guilt or
    6   innocence.” See United States v. Sanchez, 659 F.3d 1252, 1256 (9th Cir. 2011).
    7         The government has principally charged Chan with agreeing to aid and
    8   abet Huizar in an honest services bribery scheme and a pay-for-play scheme.
    9   Beyond the fact that a developer paid for Huizar’s travel, further details
   10   regarding these trips are not relevant to the charges against Chan. Indeed, the
   11   details of the trips are particularly salacious – including the prostitution and
   12   restaurants, the size of the villas, and similar details – and are not necessary for
   13   the jury to assess anything of consequence related to the charges against Chan.
   14   See United States v. Garcia-Zarate, 419 F. Supp. 3d 1176, 1178 (N.D. Cal. Jan.
   15   1, 2020) (finding that the details of an individual’s death were not relevant to the
   16   possession charges, beyond the fact that the death occurred); United States v.
   17   Hunt, No. 18-CR-475-IM, 2022 WL 8632453 *4 (D. Or. Oct. 15, 2022) (finding
   18   that while the fact of an overdose death might be relevant to explain how
   19   prosecutors were led to the defendant in a drug trafficking case, the details,
   20   including photos and discussions of the autopsy, are prejudicial).
   21         Moreover, whatever may be the minimal probative value of the evidence
   22   concerning the details of what occurred during the Las Vegas trips is
   23   substantially outweighed by the danger of unfair prejudice, confusing the issues,
   24   misleading the jury, and wasting time. Fed. R. Evid. 403. The Court must engage
   25   in the required balancing of the probative nature of the proffered evidence and
   26   any unfair prejudice resulting from its admission. United States v. Carpenter,
   27   923 F.3d 1172, 1182 (9th Cir. 2019) (Rule 403 analysis required in conspiracy
   28                                              3
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    1   case); United States v. Mayans, 17 F.3d 1174, 1183 (9th Cir. 1994) (same);
    2   United States v. Rivera Calderon, 578 F.3d 78, 94 (1st Cir. 2009) (same). Both
    3   Agent Andrew Civetti and Esparza, amongst others, testified at length about
    4   what occurred during these trips, all the while minimally referencing Chan. See
    5   Civetti Testimony Trial Tr. 2/22/23-2/23 at 282-332; Esparza Testimony Tr.
    6   2/27/2023 at 811-61. Excluding such irrelevant testimony would serve to
    7   streamline this trial and would also prevent any possibility of the jury convicting
    8   Chan because of their disgust over the excessive and sexual nature of the
    9   activities that occurred on these trips.
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    1                              GOVERNMENT OPPOSITION
    2         INTRODUCTION
    3         A key part of the government’s case against defendant relates to the Shen
    4   Zhen New World (“SZNW”) bribery scheme, in which defendant played an
    5   integral role. Defendant is charged with, among other things, RICO conspiracy
    6   (Count 1); aiding and abetting honest services fraud in connection with SZNW
    7   (Counts 2, 3, and 4); aiding and abetting federal program bribery in connection
    8   with SZNW (Count 22); and making false statements denying knowledge of the
    9   SZNW bribery scheme (Count 39). For each of these counts, it is critical that the
   10   government prove up the underlying SZNW bribery scheme between Jose Huizar
   11   and Wei Huang—and their trips to Las Vegas as key bribes in that scheme.
   12   Because the government also expects to put on evidence of defendant’s crucial
   13   role in orchestrating and facilitating that scheme, including the Vegas trips, such
   14   evidence is highly probative of defendant’s guilt.
   15         ARGUMENT
   16         A.     Multiple Charges Against Defendant Require the Government
   17                to Prove the Underlying SZNW Bribery Scheme and the Vegas
   18                Trips
   19         Counts 2, 3, and 4 charge defendant with aiding and abetting Huizar
   20   and/or SZNW with honest services wire fraud. (FSI ¶¶ 44-46, pp. 101-104.)
   21   These charges require the government to prove that Huizar or SZNW (or both)
   22   committed the underlying crime of honest services wire fraud in connection with
   23   at least one bribe. Skilling v. United States, 561 U.S. 358, 409 (2010); see also
   24   United States v. Mann, 811 F.2d 495, 497 (9th Cir. 1987) (“[A]s an element of
   25   the offense of aiding and abetting, the government must prove that someone
   26   committed the underlying crime.”). Count 22 charges defendant with aiding and
   27   abetting Huizar and/or SZNW’s crime of federal program bribery. (FSI ¶ 49, p.
   28                                             5
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    1   111.) That charge also requires the government to prove that Huizar or SZNW
    2   (or both) committed the underlying crime of federal program bribery and that it
    3   involved a thing of value, i.e., as relevant here, casino gambling chips,
    4   accommodations, or travel expenses. See 18 U.S.C. §§ 666(a)(1)(B), (2).
    5         Count 1 charging RICO conspiracy requires the government to prove that
    6   defendant agreed that members of the CD-14 Enterprise would conduct the
    7   affairs of the enterprise through a pattern of racketeering activity. See 18 U.S.C.
    8   § 1962(d). The charged predicate racketeering acts include honest services wire
    9   fraud, bribery in violation of California law, and Travel Act violations—each of
   10   which can be proved by the SZNW bribery scheme and, specifically, the Vegas
   11   trips. (See FSI ¶ 40, pp. 11-12.) Under Pinkerton liability, defendant would also
   12   be guilty of Counts 2, 3, 4, and 22 if another person (namely, Huizar or SZNW)
   13   committed those underlying substantive crimes as a reasonably foreseeable
   14   offense of defendant’s RICO conspiracy.
   15         On a broader level, the RICO conspiracy count alleges the shared
   16   objectives of the enterprise, which includes enriching its members and associates
   17   through bribery and concealing those activities. (FSI ¶ 39, pp. 10-11.) It alleges
   18   the means by which the objects of the conspiracy were to be accomplished,
   19   including through the pay-to-play scheme. (FSI ¶ 42, pp. 12-15.) The SZNW
   20   bribery scheme helps to prove those objectives and means for the broader
   21   conspiracy.
   22         In short: proving the SZNW bribery scheme as to Huizar and SZNW is a
   23   direct predicate to proving multiple charges against defendant.
   24         The Vegas trips are at the heart of the SZNW bribery scheme. They are
   25   the fundamental quids of the quid pro quo (for honest services fraud) and the
   26   “thing of value” (for federal program bribery): that alone makes evidence of
   27   those bribes—and everything they entailed—clearly admissible.
   28                                             6
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    1         None of this evidence is unduly prejudicial under Rule 403, whose “major
    2   function is limited to excluding matter of scant or cumulative probative force,
    3   dragged in by the heels for the sake of its prejudicial effect.” United States v.
    4   Hankey, 203 F.3d 1160, 1172 (9th Cir. 2000). Rather, the details of the Vegas
    5   trips are part of the “fair and legitimate weight” of evidence to “not only satisf[y]
    6   the formal definition of an offense, but [to] tell[] a colorful story with descriptive
    7   richness.” Old Chief v. United States, 519 U.S. 172, 187 (1997). Evidence of
    8   the Vegas trips are essential to proving the corrupt relationship between Huizar
    9   and Huang. That evidence is necessary for the jury to make sense of why a
   10   public official would corruptly sell his official acts when bribed with opulent
   11   experiences that included luxuries as big as penthouse villas and private jets, and
   12   indulgences as small as plush hotel bathrobes. It explains Huang’s motive to ply
   13   Huizar with hundreds of thousands of dollars in chips and illuminates the
   14   financial profits Huang stood to gain from his billion-dollar redevelopment of the
   15   LA Grand Hotel. This evidence reveals the intent of the co-conspirators,
   16   including (1) the myriad ways Huang courted Huizar as the VIP in Vegas, from
   17   serving him first at the dinner table to giving him first pick of the prostitutes; (2)
   18   Huizar’s prioritization of Huang as a “Friend of the Office” in return; and (3) the
   19   participants’ shared efforts to conceal their trips, particularly after the scare at the
   20   Palazzo and subsequent “cooling off.” Even the prostitutes that Huang paid for
   21   in Vegas goes to another key aspect of the scheme: the $600,000 Huang secretly
   22   paid to settle the sexual harassment lawsuit against Huizar—the payment of
   23   which defendant helped structure and facilitate. Huang refers back to those
   24   bribes (i.e., prostitution services) when he admits he was the one who paid the
   25   $600,000, calling it the “most expensive pussy” he ever paid for. That settlement
   26   was designed to keep Huizar in power, a goal of the conspiracy and for
   27   defendant.
   28                                               7
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    1          None of this is captured by the mere “fact that a developer paid for
    2   Huizar’s travel.” (Mot. at 3.) It is only by putting on the “persuasive power of
    3   the concrete and particular,” as it is entitled to do, that the government can satisfy
    4   the jury of “the obligations that the law places on them.” Old Chief, 519 U.S. at
    5   187.
    6          B.      Defendant Specifically Aided and Abetted the Vegas Trips
    7          The government intends to put on significant evidence of defendant’s role
    8   in generally facilitating the corrupt relationship and specifically facilitating
    9   various aspects of the bribery scheme between Huizar and Huang. That evidence
   10   will show that defendant acted as the go-between and translator for Huizar and
   11   Huang, including by assisting Huang in obtaining Huizar’s help relating to the
   12   LA Grand Hotel and assisting Huizar in obtaining bribes from Huang.
   13          To prove aiding and abetting, the government need only show that
   14   defendant aided, counseled, or induced Huizar or SZNW with respect to just one
   15   element of the underlying crime with the intent to facilitate the crime before it
   16   was completed. Rosemond v. United States, 572 U.S. 65, 73 (2014) (defendant
   17   can be convicted as an aider and abettor “even if that aid relates to only one (or
   18   some) of a crime’s phases or elements”). While that one element need not be
   19   specific to aiding and abetting the Vegas trips, the government anticipates
   20   putting on evidence of defendant’s role in facilitating and encouraging exactly
   21   those trips.
   22          For instance, the government expects that George Esparza will testify that
   23   defendant suggested Huizar should go to Vegas with Wei Huang (2/24/2023
   24   Trial Tr. at 780-781) and that defendant “made sure” Huang “took care” of
   25   Esparza and Huizar in Vegas by providing gambling chips. (Id. at 836-837.)
   26   Defendant was well aware of what happened in Vegas and laughed along with
   27   others at the stories that Huizar and Huang relayed. (See 3/1/2023 Trial Tr. at
   28                                              8
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    1   1510.) The government also expects to put on evidence that defendant
    2   frequently acted as the trusted go-between for Huang and Huizar’s corrupt
    3   conversations, including by facilitating the Vegas trips and the $600,000
    4   payment for the settlement of the sexual harassment lawsuit. (See, e.g., Exs.
    5   364N, 364O (defendant to Huizar that the “plan” for Vegas “remains the same”
    6   and that he will “confirm the Vegas trip with [chairman] and report back to
    7   you”).) Indeed, one of the Vegas trips that defendant specifically encouraged
    8   was a trip over New Year’s Eve that included Huizar’s family, whom Huizar
    9   took as part of his and defendant’s ongoing efforts to secure the $600,000
   10   collateral from Huang by reassuring Huang that all was well with Huizar’s
   11   marriage. (See Ex. 364L (Defendant to Huizar: “I hope things are going good in
   12   Vegas and your family is enjoying the trip.”); see also Ex. 366A (Harris Chan to
   13   Huizar: “Hi Jose, I just talked to the Chairman. He fully endorses your plan, he
   14   is proud that your wife will support you in public if the other side filed a
   15   lawsuit.”).)
   16          Far from being “wholly irrelevant” to defendant (Mot. at 2), the Vegas
   17   trips were one of the bribes that defendant specifically aided and abetted and go
   18   directly to his own guilt. Evidence of those trips should be admitted.
   19          CONCLUSION
   20          For the foregoing reason, defendant’s motion to exclude details about the
   21   Vegas trips as “inflammatory and prejudicial” should be denied.1
   22
   23   1
          In the parties’ joint exhibit stipulation for the government’s exhibits, defendant cites “MIL
   24   No. 1” as the basis of his objection for numerous exhibits. (See Dkt. No. 1289.) But many of
        those exhibits only loosely refer or allude to Vegas and say nothing of its details. Defendant’s
   25   motion does not seek to exclude any and all mention of Vegas; to the contrary, he concedes
        that the trips themselves are relevant. Rather, defendant’s motion seeks to exclude or limit
   26   only the “salacious details” of the Vegas trips. (Mot. at 2.) Accordingly, as to those exhibits,
   27   the government has notated its response as “Outside Scope MIL No. 1” to indicate its position
        that a ruling on MIL No. 1 would not impact the admissibility of those exhibits.
   28                                                   9
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    1                                  DEFENSE REPLY
    2         The evidence the government seeks to introduce goes well beyond adding
    3   the kind of “descriptive richness” that the Supreme Court allowed may be
    4   considered in the analysis under Rule 403. Old Chief v. United States, 519 U.S.
    5   172, 187 (1997). Old Chief’s rationale was that the government may introduce
    6   evidence to enhance “the persuasive power of the concrete and particular” to
    7   “convince the jurors that a guilty verdict would be morally reasonable as much as
    8   to point to the discrete elements of a defendant's legal fault.” Id. at 187-88. But
    9   here, the concrete and particular details of Huizar’s trips to Las Vegas are not
   10   reasonably related to Chan. Chan did not go on the trips and there is no evidence
   11   that he knew of or approved the activities that went on during these trips.
   12         The government is already seeking to prosecute Chan under a rather novel
   13   theory that, although Chan did not obtain any financial benefits in this pay for
   14   play scheme, or go to Las Vegas, he is still equally as morally and legally
   15   culpable as Huizar. The only relevant fact under this theory is that Huizar was
   16   treated to Las Vegas trips by Huang. Admitting additional evidence of the trips is
   17   a waste of the jury’s time and could confuse the issues since Chan did not go on
   18   any of the trips.
   19         To admit lengthy descriptions of the excess involved in the Las Vegas
   20   trips, which Chan was not on, would also run the risk of having the jury convict
   21   because it was disgusted by this activity generally, rather than its belief that Chan
   22   participated in an extensive RICO enterprise. United States v. Skillman, 922
   23   F.2d 1370, 1374 (9th Cir. 1990) (Unfair prejudice “appeals to the jury's
   24   sympathies, arouses its sense of horror, provokes its instinct to punish, or
   25   otherwise may cause a jury to base its decision on something other than the
   26   established propositions in the case.”).
   27
   28                                              10
                  CHAN’S MIL NO. 1 TO EXCLUDE DETAILS OF LAS VEGAS TRIPS
